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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA et al.,

Plaintiffs,

v.                                                  Case No. 1:18-cv-02340-RJL

CVS HEALTH CORPORATION

and

AETNA INC.
                        Defendants.



        PLAINTIFF STATES’ SUPPLEMENTAL STATEMENT OF SUPPORT AND
                 RENEWED REQUEST TO ADDRESS THE COURT

        After reviewing the evidence submitted in the Tunney Act hearing and the subsequent

record in this proceeding, and in light of the upcoming hearing for oral argument, the Attorneys

General of the states of California, Florida, Hawaii, Mississippi, and Washington (collectively,

“Plaintiff States”) file this supplemental statement. First, we advise the Court of our continued

support for the position of the United States Department of Justice (“DOJ”) regarding our

combined Proposed Final Judgment on the merger of CVS Health Corporation (“CVS”) and

Aetna Inc. (“Aetna”). Second, we respectfully renew our request to address the Court for ten

minutes during the hearing for oral argument set for July 17, 2019.1

        As independent co-Plaintiffs who joined the Proposed Final Judgment and who have an

important role in its enforcement, Plaintiff States carefully reviewed and considered the



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                   DOJ and CVS have no objection to Plaintiff States’ request.
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testimony from the Tunney Act hearing as well as the information submitted to the Court after

the hearing.2 This review affirmed our belief that the horizontal aspects of the merger presented

anticompetitive issues and that the proposed divestiture provides an effective and appropriate

remedy for the antitrust violations alleged in the Complaint. Therefore, Plaintiff States reaffirm

our support for approval of the Proposed Final Judgment by the Court as being in the public

interest.

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                 DOJ sought but was not given an opportunity to present or cross-examine
        witnesses, or make objections during witness testimony, to clarify the record and to show
        that the Proposed Final Judgment is in the public interest for purposes of the Tunney Act.
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FOR PLAINTIFF STATE OF MISSISSIPPI




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                              CERTIFICATE OF SERVICE
Case Name:     United States of America et al.,            No.    1:18-cv-02340-RJL
               v. CVS Health Corporation and
               Aetna Inc.

I hereby certify that on June 28, 2019, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:



PLAINTIFF STATES’ SUPPLEMENTAL STATEMENT OF SUPPORT AND RENEWED
REQUEST TO ADDRESS THE COURT



I certify that parties in the case are registered CM/ECF users and that service will be
accomplished via the CM/ECF system.


I declare under penalty of perjury the foregoing is true and correct and that this declaration was
executed on June 28, 2019, at Los Angeles, California.



              Malinda Lee                                          /s/ Malinda Lee
               Declarant                                               Signature
